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                                   1                                 UNITED STATES DISTRICT COURT
                                   2                              NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4                                    RELATED CASE ORDER
                                   5
                                             A Notice of Related Cases has been filed that the following cases are related within the
                                   6   meaning of Crim. L.R. 8-1(b):
                                   7
                                              21-cr-00273-YGR                         USA v. Borges
                                   8
                                              22-cr-00076-YGR                         USA v. Castro Banegas-Medina et al
                                   9
                                              22-cr-00178-JST                        USA v. Fernandez-Reyes
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                                  11
                                                                                    ORDER
                                  12
Northern District of California
 United States District Court




                                  13          The time for filing a statement to support or oppose the Notice has passed. On the basis of
                                       the material submitted to the Court, as the Judge assigned to the earliest filed case, I find that the
                                  14   cases:
                                  15
                                              ( )     ARE NOT RELATED as defined by Crim. L.R. 8-1(b).
                                  16
                                              ( )     ARE RELATED as defined by Crim. L.R. 8-1(b). I find, however, that
                                  17                  reassignment to me of the action(s) currently assigned to another judge is not
                                                      warranted.
                                  18
                                              (X)     ARE RELATED as defined by Crim. L.R. 8-1(b). Pursuant to Crim. L.R. 8-1(e),
                                  19                  the Clerk of Court is ordered to reassign the later-filed action to the undersigned.
                                                      Counsel are instructed that all future filings are to bear the initials immediately
                                  20                  after the case number. All matters presently scheduled for hearing in the reassigned
                                                      case(s) are vacated and must be renoticed for hearing before the undersigned.
                                  21

                                  22
                                              DATED: May 16, 2022
                                  23
                                                                                        ______________________________________
                                  24
                                                                                        YVONNE GONZALEZ ROGERS
                                  25                                                    United States District Judge

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